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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

          Plaintiff,                           Case No. 1:20−mj−416

   v.                                          Hon. Sally J. Berens

ADAM FOX,
TY GARBIN,
KALEB FRANKS,
DANIEL HARRIS,
BRANDON CASERTA,

          Defendants.
                                        /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):     First Appearance
Date/Time:              October 8, 2020 02:00 PM
Magistrate Judge:       Sally J. Berens
Place/Location:         650 Federal Building, Grand Rapids, MI

Public courtroom access will be available but may be limited due to coronavirus
precautions in place. Public audio access (listen only) for the 10/8/2020 2:00 PM
hearing is available by phone at (888) 363−4734 with Access Code 6957754#.
RECORDING OF THIS PROCEEDING WITHOUT COURT PERMISSION IS
PROHIBITED LGenR 4.1(c)(i).



                                            SALLY J. BERENS
                                            U.S. Magistrate Judge

Dated: October 8, 2020            By:        /s/ Cynthia Black Hosner
                                            Judicial Assistant
